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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) Case No. 2:12-cr-00180-MCE-4
                     Plaintiff,        )
12                                     ) AMENDED STIPULATION AND
          v.                           ) ORDER TO CONTINUE
13
                                       ) STATUS CONFERENCE
14                                     )
     IQUILA KHAN.                      )
15
                                       )      Date: 10-30-2014
16                   Defendants.       )      Time: 9:00 a.m.
     __ ____________________________) Judge: Hon. Morrison C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant, Iquila Khan, by and through her counsel of record, hereby stipulates as
20
     follows:
21
     1.    By this stipulation, defendant now moves to continue the status conference until
22

23   October 30, 2014, and to exclude time between October 23, 2014 and October 30, 2014,
24
     under Local Code T4. Plaintiff does not oppose this request.
25
           3.       The parties agree and stipulate, and request that the Court find the
26

27   following:
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                                                -1-
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 1          a.       The discovery has been provided in this matter.
 2
            b.       Counsel for defendant desires additional time to complete the review of
 3

 4
     discovery, to conduct defense investigation, and to discuss potential resolutions with her

 5   client. Counsel is continuing to engage in negotiations with the government. The
 6
     government has extended an offer to the defendant. Counsel for defendant is currently
 7
     in trial in the matter of People v. Travis Mabson, Sacramento Superior Court case
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 9   number 11F05321, in Department 22. Due to the requirements of trial, counsel has not
10
     been able to adequately discuss the offer with her client. This request will allow
11
     counsel an opportunity to fully discuss the offer and finish negotiations with the
12

13   government.

14          c.       Counsel for defendant believes that failure to grant the above-requested
15
     continuance would deny her the reasonable time necessary for effective preparation,
16
     taking into account the exercise of due diligence.
17

18          d.       The government does not object to the continuance.
19
            e.       Based on the above-stated findings, the ends of justice served by
20
     continuing the case as requested outweigh the interest of the public and the defendant in
21

22   a trial within the original date prescribed by the Speedy Trial Act.

23          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
24
     § 3161, et seq., within which trial must commence, the time period of October 23, 2014
25

26
     to October 30, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§

27   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
28
                                                 -2-
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 1   the Court at defendant’s request on the basis of the Court's finding that the ends of
 2
     justice served by taking such action outweigh the best interest of the public and the
 3
     defendant in a speedy trial.
 4

 5          4.     Nothing in this stipulation and order shall preclude a finding that other
 6
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 7
     from the period within which a trial must commence.
 8

 9          IT IS SO STIPULATED.

10

11   Dated: October 21, 1014                         Respectfully submitted,
12
                                                     /s/ Kelly Babineau
13                                                   KELLY BABINEAU
14
                                                     Attorney for Iquila Khan

15   Dated: October 21, 2014                         /s/ Jared Dolan
                                                     Kelly Babineau for:
16
                                                     JARED DOLAN
17                                                   Assistant United States Attorney
18

19
                                             ORDER
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21          IT IS SO FOUND AND ORDERED.
22   Dated: October 24, 2014
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